         Case 6:19-cv-00355-ADA Document 29 Filed 08/19/19 Page 1 of 3



                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                         WACO DIVISION


  HAMMOND DEVELOPMENT
  INTERNATIONAL, INC.,

       Plaintiffs,

                      -vs.-
                                                           Case No. 6:19-CV-00355-ADA
  AMAZON.COM, INC.,
  AMAZON.COM LLC,
  AMAZON.COM SERVICES, INC., AND
  AMAZON WEB SERVICES, INC.,

       Defendant.


                DEFENDANTS’ COPORATE DISCLOSURE STATEMENT


       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Defendants Amazon.com,

Inc., Amazon.com LLC, Amazon.com Services, Inc., and Amazon Web Services, Inc. (collec-

tively the “Amazon Defendants”), by and through their undersigned counsel state as follows:

       Amazon.com, Inc. is a publicly-traded company that has no parent corporation. No pub-

licly held corporation is known to own 10% or more of its stock.

       Amazon.com LLC was a Delaware corporation that ceased operations by January 1,

2018. Amazon.com LLC merged into Amazon.com Services, Inc., a wholly-owned subsidiary of

Amazon.com, Inc.

       Amazon Web Services, LLC is a wholly-owned subsidiary of Amazon.com, Inc. No oth-

er publicly held company owns 10% or more of its stock.
       Case 6:19-cv-00355-ADA Document 29 Filed 08/19/19 Page 2 of 3




August 19, 2019                              Respectfully submitted,

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                                       -2-
         Case 6:19-cv-00355-ADA Document 29 Filed 08/19/19 Page 3 of 3



                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document has

been served on all counsel of record via the Court’s ECF system on August 19, 2019.


                                                   /s/ Brian C. Nash
                                                   Brian C. Nash




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